     Case 2:22-mj-01424-DUTY Document 15 Filed 04/14/22 Page 1 of 5 Page ID #:43



               UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. LOURDES NAVARRO                                           Case No. 22MJ1424
                                              Q Defendant         ~ Material Witness

   Violation of Title and Section: 18 USC 1001
                                      Summons        ~ Out of District ~ UNDER SEAL              ~i Modified Date: 4/13/22

  check ~o vne ofthe~ue numbered boxes below (unless one bond is to be replaced by another):
  1,     Person Recognizance Signature On y        (~),~ Affidavit ofSurety With Justi£cation               Release No.
                                                          (Form CR-3) Signed by:
  2. ~ Unsecured Appearance Bond                                                                              41331
       $                                                                                                     Q Release to Pretrial ONLY
  3. ~ Appearance Bond                                                                                       ~ Release to Probation ONLY
       $ 1,000,000.00                                                                                        Q Forthwith Release
     ~2~.~ C3SI7 DCpOSltAmount or %~ Form CR-7~                    ~ Wifh Pull Deeding of Property:
         $250,000.00
    (b).~ Affidavit of Surety Without
          Justification (Form Cn-~) Signed by:
                                                                                                              ~■ pll Conditions of Bond
          Defendant                                                                                              (CxceptClearing-Warrants
                                                                                                                 Conditfan) Must be Met
                                                                                                                 and Posted by:
                                                                                                              4/18/22 by 4pm

                                                                                                                 Third-Party Custody
                                                       4. ❑Collateral Bond in the Amount of(Cash                 Affidavit (Form CR-31)
                                                             or Negotiable Securities):
                                                              $                                               ~ I3ai1 Fixed by Court:
                                                       S, ~ Corporate Surety Bond in the Amount of:           1~M         / slo
                                                             $                                                  (Judge /Clerk's Initials)


                                                    PRECONDITIONS TO RELEASE
      The government has requested a Nebbia hearing under 18 U.S.C. 4 3142(g)(4).
      The Court has ordered a Nebbia hearing under § 3142 (g)(4).
  ~ The Nebbia hearing is set for                                      at            ❑ a.m. ❑ p.m.

                                                 ADDITIONAL CONDITIONS OF RELEASE

In addition to the GENERAL CONDITIONS of R~LL'AS~, the following conditions of release are imposed upon you:
Q Submit to: Q Pretrial Services Agency(PSA)supervision as duected by PSA; ~ Probation(USPO)supervision as directed by USPO.
               (The agency indicated above,PSA or USPO, will be referred to below as "SupervisingAgency.'~

0■ Surrender all passports and travel documents co Supervising Agency no later than April 14, 2022                            , sign a Declaration
    re Passport and Other Travel Documents (lorm CR-3~, and do not apply for a passport or other travel document during the pendency
    of this case.
0 Travel is restricted to CACD                                                             unless prior permission is granted by Supervising
    Agency to travel to a specific ocher location. Court permission is required for international travel.
Q Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
   Maintain or actively seek employment and provide proof to Supervising Agency. ~■ Employment to be approved by Supervising Agency.
   Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                Defendant's Initials: ~               Date:         ~3~y
                                                 DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM
       Case 2:22-mj-01424-DUTY Document 15 Filed 04/14/22 Page 2 of 5 Page ID #:44

    Case Name: United States of America v. LUURD~S NAVARRO                                          Case No. 22MJ142n
                                               ~■ Defendant      ~ Material Witness
    ~
    ■ Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
         witness in the subject investigation or prosecution, ~ including but not limited to
                                                                 except
        Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
        of counsel, Notwithstanding this provision, you may contact the following codefendants without your counsel present:

       Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,
        you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not use or possess any identification, mail matter, access device, or any identif cation-related material other than in your
        own legal or tnie name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree
        to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not engage ui teleinarkeling.
   ~
   ■ Do not sell, transfer, or give away any asset valued ac $ 5,000.00                          or more without notifying and obtaining
        permission from the Court, except to pay defense counsel
       Do not engage in tax preparation for others.
       Do not use alcohol.
       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
        requirements of the program. You must pay all or part of the costs for treatment based upon your abllity to pay as determined by
        Supervising Agency.
       Do not use or possess illegal drugs or state-authorized marijuana.   ~ In order to determine compliance, you agree to
        submit to a search of your person and/or property by Supervising Agency in conjiuiction with the U.S. Marshal.
       Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
        designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
        prescribed by a medical doctor.
       Submit to:     drug and/or ~ alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
        You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agenry.
   ~]Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
        of treatment based upon your ability to pay as determined by Supervising Agency.       Release to PSA only ~ Release to USPO only
       Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
        Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
  0 Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
       restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability
       to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

       Location Monitoring Technology

       [] Location Monitoring technology at fhe discretion of the Supervising Agency

       or



                                                                                Defendant's Initials:
cx-i (o~i2t)                              CENTRAL DISTRICT                          ORDF,R AND BOND FORM                           PAGE 2 OF 5
       Case 2:22-mj-01424-DUTY Document 15 Filed 04/14/22 Page 3 of 5 Page ID #:45

    Case Name: United States of America v. I,OURDPS NAVA12120                                              Case No. 22MJ1424
                                                  0 Defendant       ~ Material Witness

        Q Location Monitoring with a bracelet
                   at the discretion of the Supervising Agency or
                   Radio Frequency(RF)or
               t Global Positioning System (GPS)
               ~

                   Release to the Supervising Agency only or     ~ Placement of bracelet wiehin 24 hours of release
        or


        ~ Location Monitoring without a bracelet

                   at the discretion of the Supervising Agenry or

                   VirtuallBiometric or

                   Voice Recognition



       Restrictions

        ■ Location Monitoring only - uo residential restrictions
        Q

               Curfew -You are restricted to your residence every day:
                   from                    to
                   as directed by Supervising Agency

               IIome Detention -You are restricted to your residence at all times except for employment, education, religious services, medical
               needs or treatment, attorney visits, court appearances and obligations, essential needs, and
               all of which must be preapproved by the Supervising Agency
     [
     ]Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
               appearances and obligations, and                                    > all of which must be preapproved by the Supervising Agency


       You are placed in the third-party custody(Form CR-31)of
       Clear outstanding ~ warrants or~ DMV and traffic violations and provide proof to Supervising Agency within                   days
       of release from custody.
       Do not possess or have access to, in the home, the workplace, or any other location, any device that offers Internet access except
       as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
       and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
       the age of 18 except in the presence of a parent or legal guardian of the minor.
       Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
       under the age of 18.
       Dv not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
       facility, school, or other organization dealing with the care, custody, or control of children under the   e of 18.
                                                                                   Defendant's Initials:               Date:       3/Z7i
CR-1 (07/21)                               CENTRAL DISTRICT Of CALIFORNIA RELEASE ORDER AND BOND FORM                              PAGE 3 OF 5
         Case 2:22-mj-01424-DUTY Document 15 Filed 04/14/22 Page 4 of 5 Page ID #:46

    Case Name: United Stages of America v. LOURDES NAVA12R0                                             Case No. 22MJ1424
                                               ■ Defendant
                                               ~                  ~ Material Witness

        Do not view or possess child pornography or chIld erotica. ~ In order to determine compliance, you agree to submit to a search
        oEyour person and/or property,including computer hardware and software, by Supervising Agency in conjunction with ilie U.S.
        Marshal.
   ■ Other conditions:
   ~

        Defendant shall not engage in day to day management of Macias Clinical Laboratory.




                                               GENERAL CONDITIONS OF RELEASE

   I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
   may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
   United States District Court to which I may be removed or eo which the case may be transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. 4 14135a.




                                                                                     Defendant's Initials: ~,.~         Date:
CR-i (07!21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                  ~P    h OF 5
         Case 2:22-mj-01424-DUTY Document 15 Filed 04/14/22 Page 5 of 5 Page ID #:47


       Case Nnme: United States of America v. LOUI2D~S NAVAIiRU                                          Case No. 22MJ1424
                                                    ■ Defendant
                                                    ~                 ~ Material Witness


                                      ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

      As a condition of my release on this band, pursuant to'I'itle 18 of the United States Code,I have read or have had interpreted to ine
      and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
      all conditions of release unposed on me and co be bound by the provisions of Local Criminal Rule 46-6.

      Furthermore,it is agreed and understood chat this is a continuing bond (uicluding any proceeding on appeal or review) which will
      continue in full force and effect until such time as duly exonerated.

      I understand that violation of any of the general acid/or additional conditions ofrelease of this bond may result in a revocation of
      release, an order of detention, and a new prosecution for au additional offense which could result in a term oP imprisonment and/or
      fine.

      I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond,this bond
      may be forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
      Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. execution of the
      judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
      United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
      forfeited.




     Date                                    Signature of efendant/Maternal Witness                       Telephone Number


                 ~(~~             ~Vf ~~QS

     City and State(DO NOTINCL             ET.IP CODE)



         Check if interpreter is used: I have interpreted into the                                                 language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                          Date



     Approved:                   ~                                          ~
                               United States District Judge /Magistrate Judge                        Date

     If cash deposited: Receipt # L~23~-~~j                      for $ 7j~1 l/ V~~



    (This bond may require surety agreements and affdavits pursuant to Local Criminal Rule 46.)




                                                                                 Defendant's Initials:    ~           Date:        f~ iv
CR-1 (07/21)                               CENTRAL DISTRICT OF CALIPORr1IA RELEASE ORDER AND BOND FORM                             PAGE 5 OF 5
